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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

                                                  )
 COMMITTEE ON WAYS AND MEANS,                     )
 UNITED STATES HOUSE OF                           )
 REPRESENTATIVES,                                 )
                                                  )
                      Plaintiff,                  )
                                                  )
               v.                                 )
                                                         No. 1:19-cv-01974-TNM
                                                  )
 UNITED STATES DEPARTMENT OF THE                  )
 TREASURY, et al.,                                )
                                                  )
                      Defendants,                 )
                                                  )
 DONALD J. TRUMP, et al.,                         )
                                                  )
                      Defendant-Intervenors.      )
                                                  )

                      NOTICE OF WITHDRAWAL OF COUNSEL

       Please take notice that Wendy Liu hereby withdraws her appearance as counsel for amici

curiae Geraldine R. Gennet, Kerry W. Kircher, Irvin B. Nathan, William Pittard, Thomas J.

Spulak, and Charles Tiefer in this case. As of January 20, 2021, Wendy Liu will no longer be

affiliated with Robbins, Russell, Englert, Orseck, Untereiner & Sauber LLP (“Robbins Russell

LLP”). Amici will continue to be represented by other counsel of record from Robbins Russell

LLP.

Dated: January 19, 2021                         Respectfully submitted,
                                                /s/ Wendy Liu
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